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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 IN RE:                                                                CASE NO.: 8:18-bk-06468-RCT
                                                                                       CHAPTER 7
 CARMEN SANTANA,
          Debtor.
 _________________________________/

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

                                    NOTICE OF OPPORTUNITY TO
                                 OBJECT AND REQUEST FOR HEARING

             Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
             paper without further notice or hearing unless a party in interest files a response
             within twenty one (21) days from the date set forth on the attached proof of service,
             plus an additional three days for service if any party was served by U.S. Mail.

             If you object to the relief requested in this paper, you must file a response with the
             Clerk of the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida
             Avenue, Suite 555, Tampa, Florida 33602 and serve a copy on the movant’s
             attorney, Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL,
             6409 Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate
             persons within the time allowed. If you file and serve a response within the time
             permitted, the Court will either schedule and notify you of a hearing, or consider the
             response and grant or deny the relief requested without a hearing.

             If you do not file a response within the time permitted, the Court will consider that
             you do not oppose the relief requested in the paper, will proceed to consider the
             paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, U.S. BANK NATIONAL ASSOCIATION, as Trustee for BNC

Mortgage Loan Trust 2007-2 Mortgage Pass-Through Certificates, Series 2007-2, by and through

the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a

modification of the automatic stay provisions for cause, and, in support thereof, states the

following:

   1. Debtor(s), Carmen Santana, filed a voluntary petition pursuant to Chapter 7 of the United



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   States Bankruptcy Code on August 2, 2018.

2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On January 19, 2007, Debtor executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $189,000.00 to

   First United Home Loans, California Corporation (CFL #6038682). The Mortgage was

   recorded on February 13, 2007 in Book 15633 at Page 696 of the Public Records of

   Pinellas County, Florida.     The loan was transferred to Secured Creditor. True and

   accurate copies of documents establishing a perfected security interest and ability to

   enforce the terms of the Note are attached hereto as Composite Exhibit “A.” The

   documents include copies of the Note with any required indorsements, Recorded

   Mortgage, Assignment(s) of Mortgage, and any other applicable documentation

   supporting the right to seek a lift of the automatic stay and foreclose, if necessary.

5. On September 26, 2016, Debtor entered into a Loan Modification Agreement thereby

   increasing the principal balance to $191,394.40. Per the terms of the Loan Modification

   Agreement, $55,613.77 of the principal balance was deemed as deferred principal

   balance.



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6. The mortgage provides Secured Creditor a lien on the real property located at 6251 66th

   Ave, Pinellas Park, Florida 33781 in Pinellas County, stated in the mortgage attached in

   Composite Exhibit “A.”

7. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since March 1, 2017. As of August 11, 2018, the total payoff on the loan was

   approximately $207,204.57.

8. The appraised value of the property is $87,033.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

9. Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as

   non-exempt. The Trustee has not abandoned the property.

10. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

11. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

12. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which


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       the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

       additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

       Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

       Debtor’s assets.

   13. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

       or protect the collateral; therefore, Secured Creditor requests that the Court waive the

       14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

   14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   15. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

   16. In order to avoid impeding proper administration of the estate’s assets, Secured Creditor

       shall request this matter be set for hearing, if necessary, on a date after the Trustee

       concludes the §341 Meeting of Creditors.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to



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seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909
                                             By: /s/Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com


                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 20, 2018, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Carmen Santana
8035 71st Way, Lot 1
Pinellas Park, FL 33781

Randall C Hiepe
Law Office of Randall C Hiepe
535 Central Ave Ste 403
St. Petersburg, FL 33701-3703

Douglas N Menchise
2963 Gulf to Bay Boulevard
Suite 300
Clearwater, FL 33759




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United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602

                                     ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                     Attorney for Secured Creditor
                                     6409 Congress Ave., Suite 100
                                     Boca Raton, FL 33487
                                     Telephone: 561-241-6901
                                     Facsimile: 561-997-6909
                                     By: /s/Christopher P. Salamone
                                     Christopher P. Salamone, Esquire
                                     Florida Bar Number 75951
                                     Email: csalamone@rasflaw.com




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                                  32-30-16-20988-000-0160
                                     Compact Property Record Card



  Tax Estimator
                              Updated August 18,                   Email Print
                                                                                 Radius
                                                                                                 FEMA/WLM
                                    2018                                         Search


   Ownership/Mailing Address Change
                                                                Site Address
           Mailing Address
        SANTANA, CARMEN
                                                             6251 66TH AVE N
          6251 66TH AVE N
                                                             PINELLAS PARK
    PINELLAS PARK FL 33781-5102
                                                               Total Living: Total Gross        Total Living
  Property Use: 0110 (Single Family Home)
                                                               SF: 1,194     SF: 1,679          Units:1
                                    [click here to hide] Legal Description
                                            DETRAZ SUB LOT 16

     Mortgage Letter     File for Homestead                                 2018 Parcel Use
                  Exemption
     Exemption            2018              2019
    Homestead:            Yes               Yes            *Assuming no ownership changes before Jan. 1
    Government:            No                No            Homestead Use Percentage: 100.00%
    Institutional:         No                No            Non-Homestead Use Percentage: 0.00%
      Historic:            No                No            Classified Agricultural: No

           Parcel Information Latest Notice of Proposed Property Taxes (TRIM Notice)
                                                           Evacuation Zone
      Most Recent                                                                                   Plat
                           Sales Comparison Census Tract (NOT the same as a FEMA
      Recording                                                                                   Book/Page
                                                                           Flood Zone)
                             $133,800 Sales
     14587/1436                                  121030249012                   D                    55/38
                                 Query
                                   2018 Preliminary Value Information
                                                                                School
                       Just/Market Assessed Value /    County                               Municipal
  Year                                                                          Taxable
                          Value       SOH Cap       Taxable Value                         Taxable Value
                                                                                 Value
  2018                     $123,627              $87,033           $37,033        $62,033        $37,033

         [click here to hide] Value History as Certified (yellow indicates correction on file)
          Homestead         Just/Market Assessed     County        School       Municipal
  Year
          Exemption            Value     Value    Taxable Value Taxable Value Taxable Value
  2017       Yes                $123,759  $85,243       $35,243       $60,243        $35,243




https://www.pcpao.org/general.php?strap=163032209880000160                                              8/20/2018
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  2016       Yes             $108,754      $83,490         $33,490        $58,490          $33,490
  2015       Yes              $94,781      $82,910         $32,910        $57,910          $32,910
  2014       Yes              $84,781      $82,252         $32,252        $57,252          $32,252
  2013       Yes              $81,036      $81,036         $31,036        $56,036          $31,036
  2012       Yes              $82,591      $82,591         $32,591        $57,591          $32,591
  2011       Yes              $88,852      $88,852         $38,852        $63,852          $38,852
  2010       Yes              $97,418      $97,418         $47,418        $72,418          $47,418
  2009       Yes             $117,673     $117,673         $67,673        $92,673          $67,673
  2008       Yes             $148,900     $148,900         $98,900       $123,900          $98,900
  2007       Yes             $159,200     $156,723        $131,723           N/A          $131,723
  2006       Yes             $152,900     $152,900        $127,900           N/A          $127,900
  2005       Yes             $124,000      $83,200         $58,200           N/A           $58,200
  2004       Yes             $108,100      $80,800         $55,800           N/A           $55,800
  2003       Yes              $86,800      $79,300         $54,300           N/A           $54,300
  2002       Yes              $81,900      $77,500         $52,500           N/A           $52,500
  2001       Yes              $65,900      $65,900         $40,900           N/A           $40,900
  2000       No               $59,500      $48,700         $23,700           N/A           $23,700
  1999       Yes              $54,000      $47,500         $22,500           N/A           $22,500
  1998       Yes              $46,800      $46,800         $21,800           N/A           $21,800
  1997       Yes              $46,400      $46,400         $21,400           N/A           $21,400
  1996       Yes              $45,600      $45,600         $20,600           N/A           $20,600
                2017 Tax Information                   Ranked Sales (What are Ranked Sales?) See all
  2017 Tax Bill                 Tax District: PPW                  transactions
  2017 Final Millage Rate                   22.6170 Sale Date   Book/Page           Price Q/U V/I
  Do not rely on current taxes as an estimate        08 Sep
                                                              14587 / 1436        $164,900 Q I
  following a change in ownership. A significant      2005
  change in taxable value may occur after a           14 Jul
                                                              13703 / 1072          $24,000 U I
  transfer due to a loss of exemptions, reset of the  2004
  Save Our Homes or 10% Cap, and/or market            05 Jul
  conditions. Please use our new Tax Estimator to             10967 / 2207          $74,900 Q I
                                                      2000
  estimate taxes under new ownership.
                                                              04026 / 1198          $15,500 U
  Amendment 1 - Will you Benefit?
  Check Estimated 3rd Homestead Exemption
  Benefit

                                        2018 Land Information
            Seawall: No                     Frontage: None                      View:
      Land Use      Land Size Unit Value Units Total Adjustments Adjusted Value Method
  Single Family (01) 65x137       930.00 65.0000     0.9999             $60,444 FF

                    [click here to hide] 2018 Building 1 Structural Elements Back to Top
                                           Site Address: 6251 66TH AVE N




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  Building Type: Single
  Family
  Quality: Average
  Foundation: Continuous
  Footing
  Floor System: Slab On
  Grade
  Exterior Wall: Concrete
  Block
  Roof Frame: Gable Or Hip
  Roof Cover: Bu Tar &
  Gravel Alt
  Stories: 1
  Living units: 1
  Floor Finish:
  Carpet/Hardtile/Hardwood
  Interior Finish:
  Drywall/Plaster
  Fixtures: 6
  Year Built: 1961
  Effective Age: 40
  Heating: Central Duct
  Cooling: Cooling (Central)
                                     Building 1 Sub Area Information
           Description                          Living Area SF
  Utility Unfinished                                           0
  Open Porch                                                   0
  Enclosed Porch Unfinished                                    0
  Carport                                                      0
  Base                                                     1,194
                                          Total Living SF: 1,194                        Total Gross SF:
                                   [click here to hide] 2018 Extra Features
      Description        Value/Unit    Units              Total Value as New       Depreciated Value
     PATIO/DECK                 $9.00 250.00                       $2,250.00               $1,260.00
        POOL               $28,000.00 1.00                        $28,000.00             $15,680.00
        SHED                    $0.00 1.00                              $0.00
                               [click here to hide] Permit Data
                Permit information is received from the County and
                    Cities. This data may be incomplete and may
                 exclude permits that do not result in field reviews
                (for example for water heater replacement permits).



https://www.pcpao.org/general.php?strap=163032209880000160                          8/20/2018
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                      We are required to list all improvements, which
                        may include unpermitted construction. Any
                     questions regarding permits, or the status of non-
                     permitted improvements, should be directed to the
                      permitting jurisdiction in which the structure is
                                           located.
       Permit Number                 Description            Issue Date        Estimated Value
         2003002413                 SPECIAL USE            03 Jun 2003                      $3,351
         2001003542                    POOL                20 Sep 2001                    $12,475
         2001002998                 SPECIAL USE            23 Jul 2001                        $465


      +
      –




 Interactive Map of this parcel   Map   Sales   Back to Query   New      Tax Collector Home   Contact
 Legend                                 Query   Results         Search   Page                 Us




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                  EXHIBIT “C”
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                               www.flmb.uscourts.gov

 IN RE:                                                        CASE NO.: 8:18-bk-06468-RCT
                                                                               CHAPTER 7
 CARMEN SANTANA,
        Debtor.
 _________________________________/

            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on U.S. BANK NATIONAL
ASSOCIATION, as Trustee for BNC Mortgage Loan Trust 2007-2 Mortgage Pass-Through
Certificates, Series 2007-2’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. __).
No appropriate response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:



       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured

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       Creditor’s interest in the following property located at 6251 66th Ave, Pinellas Park,
       Florida 33781 in Pinellas County, Florida.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $350.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                               ###
Attorney, Christopher P. Salamone, Esquire, is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.




                                                2
